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                      UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY


    ALLAN TORRES,
    Plaintiff

                               V.                    SUMMONS IN A CIVIL CASE
    VEGA AUTO DETAILING, LLC, ET AL.,
    Defendant
                                                     CASE
                                                     NUMBER: 1:25−CV−01957−KMW−SAK


       TO: (Name and address of Defendant):




       A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it)
    −− or 60 days if you are the United States or a United States Agency, or an office or employee of
    the United States described in Fed. R. civ. P. 12 (a)(2) or (3) −− you must serve on the plaintiff
    an answer to the attached complaint or a motion under rule 12 of the Federal Rules of Civil
    Procedure. The answer or motion must be served on the plaintiff or plaintiff`s attorney, whose
    name and address are:




       If you fail to respond, judgment by default will be entered against you for the relief
    demanded in the complaint. You also must file your answer or motion with the court.




     /s Melissa E. Rhoads
    Clerk of Court




                                                                 ISSUED ON 2025−03−20 08:10:13, Clerk
                                                                            USDC NJD
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                                                    RETURN OF SERVICE
  Service of the Summons and complaint was made by DATE
  me(1)
  NAME OF SERVER (PRINT)                           TITLE

   Check one box below to indicate appropriate method of service



              Served personally upon the defendant. Place where served: ___________________________
              ________________________________________________________________________; or

              Left the summons at the individual's residence or usual place of abode with (name):
              ___________________________ a person of suitable age and discretion who resides there,
              on (date):__________ and mailed a copy to the individual's last known address; or

              Name of person with whom the summons and complaint were left:
              _______________________________________; or

              Returned unexecuted: _______________________________________________________
              _________________________________________________________________________
              ______________________________________________________________________; or

              Other (specify):
              _________________________________________________________________________
              _________________________________________________________________________
              _________________________________________________________________________



                                               STATEMENT OF SERVICE FEES
  TRAVEL                               SERVICES                                        TOTAL

                                                 DECLARATION OF SERVER

              I declare under penalty of perjury under the laws of the United States of America that the foregoing
           information
           contained in the Return of Service and Statement of Service Fees is true and correct.


          Executed on       ___________________                _______________________________________
                                        Date                   Signature of Server

                                                               _______________________________________
                                                               Address of Server
